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18                             UNITED STATES DISTRICT COURT
19                            NORTHERN DISTRICT OF CALIFORNIA
20                                 SAN FRANCISCO DIVISION
21

22 IN RE GOOGLE PLAY STORE
   ANTITRUST LITIGATION,                           Case No. 3:21-md-02981-JD
23
   THIS DOCUMENT RELATES TO:
24                                                 [PROPOSED] ORDER RE: GOOGLE’S
   Epic Games, Inc. v. Google LLC et al.,          ADMINISTRATIVE MOTION TO FILE
25 Case No. 3:20-cv-05671-JD                       UNDER SEAL
26 Match Group, LLC et al. v. Google LLC et al.,
                                                   Judge:   Hon. James Donato
   Case No. 3:22-cv-02746-JD
27

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                                                                    Case No. 3:21-md-02981-JD
           [PROPOSED] ORDER RE: GOOGLE’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
       Case 3:20-cv-05671-JD Document 321-2 Filed 10/21/22 Page 2 of 3




 1         Having considered Google Defendants’ (“Google’s”) Administrative Motion to File Under

 2 Seal limited portions of Defendants’ Opposition to Epic’s and Match’s Motion to Amend

 3 Complaints, the Declaration of Glenn D. Pomerantz (“Pomerantz Decl.”) along with

 4 accompanying exhibits (“Exhibits”), and the Declaration of Christian Cramer (“Cramer Decl.”) in

 5 support of the administrative motion, pursuant to Local Rules 7-11 and 79-5;

 6         IT IS HEREBY ORDERED:
 7         The following portions of Google’s Opposition and supporting documents may be filed

 8 under seal:

 9     Item                Portion Containing                 Designating         Ruling
                           Designated Information             Party
10
       Defendants’         Page 3, lines 25 (between          Google (Cramer
11     Opposition          “developer” and “as                Decl. ¶ 1)
                           ‘illustrative’”)
12
       Defendants’         Page 5, lines 4-7 (between         Google (Cramer
13     Opposition          “They allege that, through         Decl. ¶ 2)
                           ‘Project Hug,’ Google” and end
14                         of sentence)
       Defendants’         Page 5, lines 13-14 (between       Google (Cramer
15     Opposition          “reached with” and “Id.’”)         Decl. ¶ 3)
16     Defendants’         Page 6, line 27 (between           Google (Cramer
       Opposition          “developers identified in the      Decl. ¶ 4)
17                         motions––” and “ ––were
                           produced”)
18     Defendants’         Page 7, lines 4-5 (between         Google (Cramer
       Opposition          “focused questioning,” and “, at   Decl. ¶ 5)
19
                           his deposition nine months
20                         ago.”)
       Defendants’         Page 7, line 8 (between            Google (Cramer
21     Opposition          “developers,’ including” and       Decl. ¶ 6)
                           “‘to stop them from’”)
22     Defendants’         Page 7, lines 20-22 (between       Google (Cramer
23     Opposition          start of sentence and “and         Decl. ¶ 7)
                           Google employee”; between
24                         “testified that Google and” and
                           “never entered”; between “an
25                         agreement that” and “would not
                           open”; and between “Ex. D”
26                         and “Dep.”)
27     Defendants’         Page 10, line 24 (between          Google (Cramer
       Opposition          “amendments mention,” and “,       Decl. ¶ 8)
28                         but they also”)

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            [PROPOSED] ORDER RE: GOOGLE’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
       Case 3:20-cv-05671-JD Document 321-2 Filed 10/21/22 Page 3 of 3




 1     Item              Portion Containing                Designating           Ruling
                         Designated Information            Party
 2
       Ex. C to          Page 382:24 (between              Google (Cramer
 3     Pomerantz Decl.   “recollection” and end of line)   Decl. ¶ 9)
       (M. Marchak
 4
       Dep. Tr.)
 5     Ex. C to          Page 383:1-6 (between start of  Google (Cramer
       Pomerantz Decl.   page and “I don’t”; and between Decl. ¶ 10)
 6     (M. Marchak       “more details” and “We’ll get”)
       Dep. Tr.)
 7     Ex. C to          Page 384:12-14 (between “not      Google (Cramer
       Pomerantz Decl.   only” and “considered their       Decl. ¶ 11)
 8
       (M. Marchak       own”)
 9     Dep. Tr.)

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     Dated: ____________, 2022
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14                                             Honorable James Donato
                                               United States District Judge
15                                             Northern District of California
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                                             -2-                    Case No. 3:21-md-02981-JD
           [PROPOSED] ORDER RE: GOOGLE’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
